
699 S.E.2d 922 (2010)
STATE of North Carolina
v.
Marcus Lavern TURNER.
No. 44A10.
Supreme Court of North Carolina.
June 16, 2010.
Bryan Gates, Winston-Salem, for Marcus Lavern Turner.
Donald Laton, Assistant Attorney General, for State of NC.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant-Appellant on the 26th of January 2010 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the State of NC, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 16th of June 2010."
